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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” on the Gulf of Mexico, on

April 20, 2010 Section J.

THIS DOCUMENT RELATES:

All Cases and 2:10-CV-2771 JUDGE BARBIER

MAGISTRATE JUDGE SHUSHAN

ORDER
Considering the Motion for Acceptance of Limitation Short Form Joinder of Leland M. Rogers Filed Beyond the
September 16, 2011, Deadline and Supporting Memorandum of Law:
It is ORDERED that the Motion for Acceptance of Limitation Short Form Joinder of Leland M. Rogers Filed
Beyond the September 16, 2011 Deadline is GRANTED. Mr. Rogers’ Short Form Joinder attached as Exhibit A, filed
into the record of Civil Action No. 10-8888 shall be considered timely filed in the Transocean Limitation (Civil

Action No. 10-2771).

Signed this day of , 2012

Honorable Carl J. Barbier, U.S. District Court Judge
